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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 MAYOR AND CITY COUNCIL OF
 BALTIMORE, et al.,
                                                   Case No. 25-cv-458-ABA
 Plaintiffs,

 vs.

 CONSUMER FINANCIAL PROTECTION
 BUREAU, et al.,

 Defendants.


                       JOINT MOTION FOR BRIEFING SCHEDULE


        On February 12, 2025, Plaintiffs Mayor and City Council of Baltimore and Economic

Action Maryland Fund filed a complaint (ECF No. 1) and motion for a temporary restraining order

(ECF No. 8) asking this Court to enjoin the Consumer Financial Protection Bureau and its Acting

Director Russell Vought from taking any steps to defund the Consumer Financial Protection

Bureau, including by transferring the Bureau’s reserve funds or otherwise using them for a purpose

other than the operation of the Bureau, until this Court can further consider the merits of the case.

        Since this filing, the Parties have conferred and come to an agreement to enable entry of a

stipulated briefing schedule that converts plaintiffs’ pending motion for a temporary restraining

order into a motion for a preliminary injunction. Specifically, Defendant Consumer Financial

Protection Bureau and Defendant Russell Vought agree that, for a period of time beginning with

the filing of this Joint Motion, and expiring at 9:00 a.m. Eastern, on Friday, February 28, 2025, or

upon entry of a contrary order by this Court, Defendants, their officers, agents, servants,

employees, and attorneys will not:
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   •   Transfer money from the Bureau’s reserve funds, other than to satisfy the ordinary

       operating obligations of the Bureau;

   •   Relinquish control or ownership of the Bureau’s reserve funds nor grant control or

       ownership of the Bureau’s reserve funds to any other entity;

   •   Return any money from the Bureau’s reserve funds to the Federal Reserve or the

       Department of Treasury; or

   •   Otherwise take steps to reduce the amount of money available to the Bureau below the

       amount available as of February 13, 2025 other than to satisfy the ordinary operating

       obligations of the Bureau.

       Defendants agree that the above commitments are made by the Acting Director of the

Consumer Financial Protection Bureau, in his official capacity, and therefore will be

commitments honored for the same term of time by any successor occupying that office,

including any officer otherwise exercising the powers of Director of the Consumer Financial

Protection Bureau prior to 9:00 a.m. Eastern on Friday, February 28.

       In reliance on Defendants’ assurances, the parties jointly move to convert Plaintiffs’

pending motion for a temporary restraining order to a motion for a preliminary injunction, with a

briefing schedule that would enable this Court to rule before 9:00 a.m. Eastern on Friday,

February 28 as follows:

       1. Defendants to file an opposition to the motion for a preliminary injunction (ECF No.

           8, styled as “Plaintiffs’ Motion for a Temporary Restraining Order”) by February 20,

           2025.




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       2. Plaintiffs to file a reply in support of the motion for a preliminary injunction (ECF

           No. 8, styled as “Plaintiffs’ Motion for a Temporary Restraining Order”) by February

           25, 2025.

The parties are available at any time on February 26 or 27 should the Court wish to hold a

hearing on Plaintiffs’ Motion.


 Dated: February 13, 2025                           Respectfully submitted,

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